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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                                    CASE NO. 13-60650-CIV-DIMITROULEAS
 LINROY DURANT,

        Plaintiff,

 vs.

 HEALTHCARE REVENUE RECOVERY
 GROUP, LLC, DBA ARS ACCOUNT
 RESOLUTION, a Florida limited liability
 company,

       Defendant.
 _____________________________________/

             ORDER APPROVING VOLUNTARY DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary Dismissal With

 Prejudice [DE 6], filed on July 1, 2013. The Court has carefully considered the Notice and is

 otherwise fully advised in the premises.

        Under Federal Rule of Civil Procedure 41(a)(1)(A)(i), a plaintiff may dismiss an action

 without a court order “before the opposing party serves either an answer or a motion for

 summary judgment.” The Defendant has filed neither an answer nor a motion for summary

 judgment.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

        1.       Plaintiff’s Notice of Voluntary Dismissal With Prejudice [DE 6] is APPROVED;

        2.      This action is DISMISSED WITH PREJUDICE;
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        3.      The Clerk shall CLOSE this case and DENY any pending motions as moot.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida this

 1st day of July, 2013.




 Copies furnished to:

 Counsel of record
